   UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                   WESTERN DIVISION
                                                                               ..
UNITED STATES OF AMERICA,
                                              N0.5:12 -CR-00 274-D- 1
         Plainti ff-Res ponden t
                                              MOTION FOR REDUCTION OF SENTENCE
        v.                                    PURSUANT TO 18 U.S.C. 3582(C ){1)(A )(i)

ANTHONY WAYNE WIGGINS,
        Defend ant-Pe titione r.


MEffl©BANDUM OF LAW IN SUPPORT OF MOTION TO REDUCE SENTENCE PURSUANT TO
18 U.S.C. 3582~C )~1)(A ){i)




        FILED
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      MAR 2 4 2022
                                                   ANTHONY WAYNE w\ GGINS(PRO SE)
                                                   56530-0 56
                                                   UNITED STATES PENITENTIARY
                                                   HAZELTON, P.O.BOX 2000
                                                   BRUCETON MILLS, WV 26525




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        COMES NOW, t he petit i oner Anth ony Wayne Wigg ins , p r ose
                                                                        respe ctful ly
  moves this Honor abl e Cour t for an order reduc ing his sente
                                                                     nce pursu ant to the
  Firs t Step Act based on " extra ordin ary and Comp elling reaso
                                                                       ns" discu ssed
  be l o~, purs~ ~nt !~ 18 u . s.C.} 582 (C)(l )(A) (i).

                                              INTRODUCTION
      I n 2014, p etitio ner was sente nced by this court to a term
                                                                       of Two life
  Sente nce to run conc urren tly and One hundr ed and twent y-
                                                                  month s in priso n in
  vio l ation of 18 U.S . C. §922( g) based on a drug consp iracy
                                                                   to distri buttl: ! 5KG of
  Coca ine, posse ssion with inten t t o distr ibute 28g or more
                                                                    of cocai ne base
  (crac k) in viola tion of 21 U. S . C.§8 41(a) (1). His Life sente
                                                                     nce was based on
  Two Prior State of North carol ina posse ssion Convi ction
                                                                 in 1990 and 1994
  respe ctive ly that was based on the gover nmen t filin gs of
                                                                  21 U. S. C.§85 1;
  enhan cemen t. Speci fically , petiti oner ' s life senten ces were based
                                                                            <;m the 18 U.S.C .§851
  enhancements, a cruell y excess ive enhancements that has since been barred
                                                                                   by Congress .
     Congress has clarif ied that in order to enhance a senten ce uvder 21
                                                                                U.S.C. 841(b )(l)(A ),
  the first Step Act of 2018 now requir es that the predic ate convic tion
                                                                               bia seriou s felony ,
  as define d at 21 U. S.C.80 2(57), in rather than a more fel ony offens e
                                                                            , as define d ·at
  21 U. S. C.802(44) . While any state or Feder al drug offemse punish able
                                                                             by : imprisonment for
  more than I year qualif ied as a fel ony drug offens e, the First Step
                                                                           Act now requir es that
  the offend er served a term of impr isonment of more than 12 Months . 21
                                                                              U.S . C.802(57) .
     Sectio n 401 of the First Step act amended the senten cing enhancements
                                                                              under 21 U.S.C. §851
  in two rel evant ways . It r educed the mandatory minimums follow ing a
                                                                          sectio n851n otice from
 25 to 15 years for one quali fying conv iction and from life
                                                                            to 25 years for
 two or more qua l ifyin g conv iction s. 21 U. S.C . §841 (b)(l) (A)
                                                                           . In addit ion , the
  amend ment alter ed the kinds of convi c t ions for which a secti
                                                                         on 851 enhan cemen t
  cou l d apply , inclu ding chang ing the broad "felo ny·. drug offen
                                                                         se" ca t egory
  (com prisin g simpl e drug posse ssion ) to tJhe :: much narro wer
                                                                     " serio us drug felon y"
· categ ory (Com prisin g manu factu re or distr ibuti on punis hable
                                                                         by a t least 10ye ars
 for which the defen dant serve d a t l east 12 month s withi n
                                                                the last 15 years )

                                             1
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See 21 U. S . C.§802(44).
   Clearly, under section §401 of the First Step Act, only drug felony or
serious violent felony, defined . as an offense for which an offender actually
served a term imprisonment of more than one year, now qualifies as a ~851
predicate offense, rather than the previously included felony drug offense,
defined .as an offense that is punishable by imprisonment of more than one
year. 21 U.S.C . §851 . 21 U. S.C.§§802(57)(A) and (58)(A) defines serious drug
felony and serious violent felony, respective l y.
   Petitioner has served a decade in prison, not counting the Good Time
Credit. But without a reduction in sentence, petitioner has no projected
release date . In contrast, if petitioner had been sentenced under the
current law, the §851 enhancement that he received that caused his
classification as a career criminal and mandated his life sentence would not
have the same effect today. The First Step Act both lowered ~he relevant
minimum section 851 enhancement penalty from l ife to 25 years and narrowed
                                                     i
the scope of its application, such that none of the petitioner's two simple
                                                                    '
possession prior offenses would have qualified as a seriou J drug felony.
   Moreover, petitioner notes that section 851 enhancements have generally
become so disfavored in most districts within the Fourth Circuit, even
though half of drug trafficking cases were eligible, makin g it highly unlikely
that the enhancement would apply at all if he were tried today.In all
probability, then, the highest mandatory minimum he would have faced is
likely less than 10- years. Though petitioner commited a serious crime_but
nonviolent crime.
   Petitioner argues that the gross disparity between the mandatory life
sentence he received in 2014 and the less than 15 years minimum term he
would face today is an extraordinary and compelling reason to grant relief.




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                                   STATEMENT OF THE CASE
  On August 15 , 2012, Wi ggins was indicted in a two count indictment . Count One alleged
that on or about June 30, 2012, in the Eastern District of North Carol ina, Wiggins ;
Knowingl y and Intentionally possessed with intent to distribute 28 grams or more of Cocaine
base (crack) in violation of 21 U.S.C. §841(a)(1) . Count Two alleged that on or about
June 30,2012, having previously been convicted of a crime punishable by a term of
imprisonment exceeding one(l) year , Wiggins knowingly possessed a firearm and arrmunition
                                                                                  #
in and affecting conmerce, in violation of 18 U.S.C.§§922(g)(l) and 924.
   On November 28,2012, a trial counsel for wiggins filed a motion to suppress the
evidence stemming from law enforcementYs search of his residence on June 30, 2012. On
December 5,2012, the government fi l ed a response in opposition to Wiggins~ motion to
suppress. The District Court denied the motion without a hearing on December 12,2012
   On April 9,2013, the government filed a Superseding Indictment in this case. The
Superseding Indictment added a conspiracy charge with Wiggins and four newl y indicted
co-conspirators, as well as eight additional Counts and a forfeiture notice . Count One
of the Superseding Indict ment charged Wiggins, Asael Gomez- Jimenez, +lvino Lara- lara,
Dario Gomez- Juarez, and Luisiana Figuerroa- Quezada with conspiracy to distribute and
possess five Kilograms or more of cocaine in violation of 21 U.S.C. §841(a)(1) and §846.
Counts One and Two of the original indictment against Wiggins w~re realleged as Count
Six and Seven in the Superseding Indictment . None of the other counts pertained to
wiggins
   On March 10, 2014, the Government fi l ed an Information pursuant to 21 U. S.C.§851.
Wiggins was also arraigned that date on the Superseding Indictment, andpled not guilty to
Counts 1,6,7. Later that morning, the trial of Wiggins and Asael Gomez- Jimenez began, and
ran through March 13, 2014. On March 13, 2014, the jury returned a guilty verdict on all
three counts against Wiggins.
   On July 11,2014, wiggins filed an objection to the Government ts Information. In
response, the Government fi l ed amended information on august 28, 2014 and September 2,2014 .


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   On September 3,201~, the district Court conducted a sentencing hearing for Wiggins.
The district court overruled his objections to the Section · §851 Information, and overruled
all of his other objections in the Presentencing Report. The district court found an c:I
                                                                                        ._,.
advisory guideline range of Life imprisonment on Count.:-One and Six, and 120 Months on
Count Seven . The district ,court ·sentenced petitioner to Life imprisonment.
   On September 9, 2014 Wiggins filed a timely notice of appeal . The facts pertinent to
each o.f Petitioner's arguments on appeal are adduced therein .
   On May 1,2021 a written request was submitted to the Warden here at USP Hazel~n, WV,
asking that the BOP move this Court for a reduction of Petitioner's sentence under
18 U.S .C.§3582 (c)(l)(A) . The Warden denied the request on May 7,2021. Petitioner filed
an appeal to the denial pursunat to the BOP Administrati ve Remedy Procedure on May 21, 2021
and again was denied on June 8,2021. On June 11,2021, petitioner appealed the Wardenfs
denial on a BP-10 to the Regional Director and was denied on July 13, 2021. Petitioner
made the final appeal to the BOP General Counsel on a BP- 11 an August 11,2021 and was
denied on Nov . • 19 ;· ,2021. The Act permits a defendant to seek a sentence reduction after
                                                                  \.
he 'b.as fully exhausted all administrative right' to appeal a failure of the Bureau of
Prison to bring a motion on the defendant's behalf or a lapse of 30days from the receipt
of such request by the Warden of the defendant's facility, whichever is earlier."
Petitioner has met these requirements . See (Exhibit-A) .•. records of petitioner's appeal
process. Thus this motion.

                                        ARGUMENT
   This Court has the authority to reduce Petitioner's sentence based on the extraordinary
and Compelling circumstances presented by this case . The changes to 18 U.S.C . §3582
(c)(l)(A) made by the First Step Act have allowed inmates serving unusually long sentences
to seek sentence reductions from the sentencing courts, even without the imprimatur of
the BOP. the circumstances here warrants such relief, and the factors a court must consider
in determining an appropriate sentence weigh strongly in favor of a reduction in Petitioner's
sentence ,.




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       1HE COURT HAS JURISDICTION 1D REDUCE PETITIONER'S SENTENCE FOR "EXTRAORDINARY AND
       COMPELLING REASONS".
    The Court authority to grant compassionate release or a sentence reduction is found at
                                                                                        :./'
18 U.S . C. §3582(c). A dfendant may qualify for a modification in his sentence due to certain
age, heal th, or family circumstances factors . 18 U. S.C. §3582(c)(1)(A). before the passage of
the First Step Act on December 21 . 2018. See (Pub.L.115- 391,132 St at.5194), the discretion to
file a motion for compassionate release under §3582(c)(1)(A) rested entirely with the Director
Of the Bureau Of Prisons. After December 21,2018, Section 603 of the First Step A~ amended
18 U.S . C. §3582(c)(1)(A) to provide that a §3582(c)(1)(A) requires that sentence reduction
be consistent with "applicable policy statements" , where there currently exists no applicable
policy statement, "§181.13 does not apply, and thus §3582(c)(1)(A)s" consistent requirement
does not constrain the discretion of the District Courts ." Id at 28!. Therefore, district
may consider "any extraordinary and compelling resons for release that a defendant might
raise ." Id (quoting United States v . Booker, 976 F. 3d 228 (2nd Cir,2020)) .
   In addition to considering whether extraordinary and compel\ing reasons are present, a
Court must also consider the 18 U.S.C.§3553(a) factors and determine whether the defendant is
                                                                          t
a danger to the safety of another person or the colIITillnity as provided in 18 U.S.C. §3142(g);
u.s.s.G.1B1.13.
   In sum, Mr. wiggins must show (l)Exhaustion of administrative remedies; (2)existence of
extraordinary and compelling circumstances , and(3) justification under the 18 U.S.C.§3553(a)
sentencing fac t ors.


                                EXHAUSTION OF ADMINISTRATIVE REMEDIES
   A defendant must have exhausted all administrative rights to appeal a failure of the BOP
Director to bring a motion on the defendant ' s behalf or the lapse of 30 days from the receipt
of such request by the Warden of the defendant ' s facility, whichever is ealier . 18 U.S.C.
§3582. On May 1, 2021 a written was submitted to the Warden based on the First Step



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Act':s change in law pursuant to 18 U.S.C.§3582(c)(1)(A). The Warden denied the request on
May 7, 2021. Petitioner filed an appeal on the denial pursuant to the BOP Adminis t rative
Remedy Procedure on May 21,2021 and again was denied on June 8 , 2021 . On June 11,2021,
                                                                                                    ,r;.

petitioner appealed the warden ' s denial on a BP- 10 to the Regional Director and was -denied
on July 13,2021. Petitioner made the final appeal to the BOP General Counsel o~ a BP- 11 on
Augus t 11,2021 and was denied on November: ~19,2021. Petit ioner has thus exhausted his
administrative remedies to date and his motion for compassionate release/sentence reduction
is now properly before the Court.

                              EXTRAORDINARY AND COMPELLING CIRCUMSTANCES
   The Guidelines provided four categories of circumst ances that are extraordinary and
compelling. The first concerns the medical condition of the defendant . The second concerns
the age · of the .-defendaot'...:·The~tbhcd...Gottcetns . the : family circumstances of. the.-defendant.·
The fourt h is a catchall provision, which permits the BOP Director to identify other
extraordinary circumstances that are not set out by the Guidelines. The U.S. S. G. §1B1.13 .
comment.n. 1. Petitioner is moving under the fourth category .•.\he catchall provision. He
submits that had he been sentenced after 2018, the Court would not               hafe given him Life
i mprisonment on his conviction under Section ~401 of the First Step Act.
   Clearly, under section 1401 of the First Step Act, only drug felony or serious violent
 felony, defined as an offense for which an offender actually served a term of imprisonment
of more than One Year, nor, quali fies as a §851 predicate offense, rather than the previously
 included fel ony drug offense, defined as an offense that is punishabl e by imprisonment of
more than One year. 21 U. S.C.§851. 21 U.S. C.§§802(57)(A) and(58)(A) defines serious drug
f.elony and serious viol ent felony, respectively.

    In petitioner ' s case, the First Step Actfs changes to §851 constitute "extraordinary
and compelling reasons" for why his sent ence should now be reduced. In March 10,2014, he
became exposed to the §851 enhancement immediately prior to the beginning of trial, the
government filed two notices of intent to seek enhancement penalties pursuant to 21                 u.s .c.
§851, which increased the mandatory minimum on drug conspiracy charge from 10 years                  to


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Mandatory Life imprisonment, based on prior convictions for possession with intent to
distribute Cocaine in 1990 and possession of Cocaine in 1995 and 2000. On March 13,2014,
the jury returned a verdict of guilty on al l three charges.
   But for the §851 enhancement, the defendant ' s sent ence would have been lower, 10--years
at most . Obviousl y, the case would have been charged differentl y today in light of the
First Step act amended §851 recidivist enhancement . The fact that petitioner elected to
go to trial played a substantial role in the decision to file §851 enhancement. Under the
First Step Act, petitioner will not be enhanced. A review of the sentences recei~d, his
other Co-defendants and Separately indicted Co- conspirators revealed that the following
sentences were imposed; 42-Months; 180-Months; 390-Months; 180-Months; 132-Months; and
30-Months. Petitioner received the longest sentence of all Co- defendants and separately
tmindicted Co-conspirators despite being the customer of many of the defendants whose

sentences were shorter.
   if sentenced today, petitioner would face a mandatory minimum term of 120-Months on
Counts One and Seven and would no longer qualify for a mandatory sen~ence of Mandatory life
                                                               l.
pursuant to §§851 and 841(b)(l)(A) . One Eastern Di strict within the Fourth Circuit found
First Step Act changes to Statutes 851 and 841(b)(l)(A) were extraord!ary and compelling
reasons and reduced a life sentence t o time served. See U.S . vDay, 2020 U.S .Dist.LEXIS
133586 (E.D.Va . July 23,2020). Other District Courts   in the Fourth Circuit have also
reduced sentences to time served on First Step act charges to §851. U.S. v . Boyce,
 2021 U.S.Dist .LEXIS (D.Md.feb 10,2021); U.S. v.Will iams, 2020 U.S.Dist.LEXIS179932
 (W,D .Va.Sept 30,2020); U.S. v .Sweets, 2020 U.S.Dist.LEXIS 101647 (D.Md.June 10,2020);
U.S . v.Turner, 2019 U. S.Dist.LEXIS 151445 (D.Md.June 28,2019). Petitioner ' s simple
possession no longer qualifies for enhancement for purposes under §851. See
U.S . v Sappleton , 2021 U.S. Dist .LEXIS 29020 (D.Md.Feb 16, 2021). Petitioner argues that
 Section §401 amendment of the First Step Act amended the sentence enhancement provisions
 of§§ 841(b)(1) and 851, such that the enhancements now only apply to a person




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with a prior convictions for a "serious drug felony, " rather than a "felony drug offense," ~·
constitutes an extraordinary and compelling reason warranting a sentence reduction.
Because neither of his prior !S!ortn~earolina simple possession convictions qualify as a
"serious drug felony" under the amended law, if he were sentenced today, he would ri£t
face a sentence enhancement.
            Petitioner lists his North Carolina convictions that were used for his §851 enhancements
as follows: June ,1990 . . •possession of 2grams of Cocaine case #90-Crs- 33668 NC-21USC 841(D);
Wake County; July 10,199? felony possession of Cocaine Case#94-CRS-006416 ..• Wils~ County
North Carolina;June 29,2000 .•• possession of Cocaine, Case#99- CRS- 15227 ...• Nash County
North Carolina . See(Exhibit- B).
            Petitioner argues that when he was sentenced, §841(b)(l)(A) provided for an enhanced
penalty if the defendant colllllitted certain drug violations "after two or more prior ~
convictions for a felony drug offense have become final." 21 U.S.C.§841(b)(l)(A)(2010).
•   .   ~   . ~ ! .... ·.- .

Section 401 of the First Step Act made two relevant changes to the enhanced. of §841(b)(l)(A):
First, it required that the defendant have two prior serious drug felony convictions for
                                                                               \
the enhancement to apply; and second, it reduced the penalty for those defendants to a 25-
year mandatory minimum, instead of life. See 21 U.S.C.§841(b)(l)(A)(2118). Today, in
order to satisfy the "serious drug felony" requirement, the defendant must have served a
term of imprisonment of more than 12 Months on each prior offenses
            Here, if petitioner was sentenced today, mandatory life imprisonment would not be the
outcome. First, he did not serve more than a year and a day on any one of his prior state ~· ~
::conrit<tions~ His scant terms of possession convictions and incarcerations clearly do not
meet the "serious drug felony" as :.§Byl(b):El)(A)requiii:es. Today the sentencing enhancement
under §851 would not apply to petitioner . See21 U.S.C . §§802(57); 841(b)(l)(B).
               Next, :petitioner argues that the gross disparity between the mandatory life sentence
he received in 2014 and the 10 year mandatory minimum term he would face today is an
extraordinary and compelling reason to grant relief. Furthermore, the less severe sentences
that were imposed on his co-defendants and separately indicted Ce-conspirators, even those
with gFeater culpability is a compelling reason to grant a sentence reduction.

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                      18 U.S.C . §3553(a)RELEVANT SENTENCING FACTDRS
   Petitioner does not minimize the seriousness of his offense and does take responsibility.
And despite the fact that he elected to go to trial, his conduct since incarcerat~1~is
exemplary. I have consistently maintained a clear conduct. See (Exhibit-C) Inmate
Custody Classifi cation Record.
   There is no doubt that the time petitioner served is more than sufficient to achieve
the goals of his sentencing set forth in 18 U. S. C.§3553(a) such that his continued
                                                                                     :Ji
incarceration serves no legitimate end. Continued imprisonment would make his sentence
greater than necessary to serve the purpose. See §3553(a)(1) . In"five things about
deterrence (2016)" US Department of Justice(OOJ) States that" interms of both specific
and general deterence, there is overwhelming evidence in the specific literature that the
certainty of being caught i s a vastly more powerful deterrent than the severity of the
punishment. " United States v . Browing, 2021 U.S .Dist. LEXIS 38058 (E .D.Mich. Mar. 2,2021).
   In the paper , the DOJ explains that, severity refers to the lenght of a sentence. Studies
show that for most individuals convicted of crime, short to ntoderate prison sentences
may be a deterrent but longer prison terms produce only a limited det,rrnt effect.
Certainty refers to the likelyhood of being caught and punished for the commission of
crime. Research underscores the more significant rol e that certainty plays in deterrence.....::--
than severity. It is the certainty of being caught that deters a person from corrmitting
crime , not the fear of being puni shed or the severity of the punishment . Effective
policing that leads to swift and certain (but not necessarily severity). Sanctions is a
better deterrent than the threat of incarceration. In addition, there is no evidence that
the deterrent effect increases when the likel ihood of conviction increases. Nor is there
any evidence that the deterrent effect increases when the likelihood of imprisonment
incr eases.
   Moreover, petitioner has expressed remorse, and continues to feel deep regret and
shame for his action . His time in the BOP has been infraction free . Thus, the time he has
spent imprisoned has been sufficient to make a significant impact and imposed just

punishment for his offense . See 18 U. S.C. §3553(a)(2)(A):.f.s).

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   Petitioner has spent 10 years in Prison, during this time, he has taken multiple educationa
classes, worked continually, and completed a non- resident ial drug treatment . He worked as a
Unit orderly since he came into the Bureau Of Prison ("BOP" ) cus t ody, ahd7his most recent
program review states that he maintains the high standards of the Unit, assists in tcfsks
that he is not assigned, maintains good work evaluations . See Summary Reentry Plan ••. . • .
Progress Report (Exihibit-D) . Petitioner is working hard towards obtaining his GED.
   Petitioner argues that pursuant to Section §3553(a) factors that the time he has already
served is more than sufficient to achieve the goals of his sentencing such that h~xootin.ns
incarceration will serve no legitimate end. Section §3553(a) requires a sentence to "reflect
the seriousness of the offense, promote respect for thelaw and provide just punishment; to
afford adequate deterrence to criminal conduct, protect the corrmunity from further crimes
of the defendant, and to provide the defendant with needed educational or vocational training.
In that regard, petitioner's actions since his incarcerati on to ful fil these policy goal s
have been exempl ary as his Bop record ..... Progress Report reflects.
   Additionall y, this Court shoul d consider his rehabilitation since ~is i ncarceration, his
history and characteristics, the sentencing disparity between lhe sentence he received
                                                                          (

compared to his co- conspirators and separately indicted co -defendants\and other factors
that bear on who the petitioner is today . See 18 U.S.C.§3582(c)(1)(A)(i); §1B1 . 13(requiring
consideration of inter alia. the factors set forth in 18 U.S.C. §3553(a); Pepper V.United
States, 562 U. S.476(2011)(Evidence of post- sentencing rehabilitation may be highly relevant
to several of the §3553(a) factors that Congress has expressl y instructed Courts to consider
at sentencing. " ). Clearly, petitioner has taken:'St~ps towards rehabilitation despite his
life sentence. In addition, petitioner has put forth an appropriate REI...FASE PLAN to work
in the family used Car business/Car- Parts Business ("Junk-Yard"), work on vehicles which
he has a backgr ound; he has an avail able residence in Middlesex, North Carolina (10678
Beaver Dam Road) furnished by the family. The Sister pl ans to include him in their health-

care provider



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                     PETITIONER IS NOT A DANGER TO TI-IE CCl-1MUNI1Y
   Petitioner has worked all through his incarceration to better himself as evidenced by
his Re-entry Plan---Progress Report and his release Plan. He does not pose a danger ~~
any other person or the community at large. He recognizes that his actions were erro~s
in judgement. He stands ready to reintegr ate into society with support from his family
upon release. See (Exhibit -E) Reference letters from Family and Friends who are very
supportive of petitioner and are willing to assist him to positively integrate back to
                                                                                  ~
society.




   Petitioner respectfully ask this Honorable Court to use the power confered
to .. him~By the First Step Act to reduce his sentence.




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                                     CERTIFICATE OF SEXVICE
   I, ..rkithony Wayne Wiggins, affirm under the penalty of perjury pursuant to 28 U.S.C.
§1746, that I have this day delivered my Motion to reduce Sentence pursuant to 18 U.S.C.
                                                                                    _,..
§3582(c)(l)(A)(i), and a Memorandum of Law in support of my Pro- se. Motion within the ·;
Inst itutional Legal Mail Pouch , fully addressed, with postage/certi fied thereto to the
foll owing address:
 Cl erk's Office,
Unit ed States District Court For The East ern District Of North Carolina
West ern Division
310 New Bern Avenue, Room 574
Ralei gh, North Carol ina 27601 .



The United States Attorney,
310 New Bern Avenue, suite 800
 Raleigh, North Carol ina 27601




Dated and signed this   fl D day of 11/fd       ,
                                                2022



                                                                                  ✓   v

                                                    Isl    ~ N~
                                                          ANTHONY W. WIGGINS, 56630- 056
                                                          United States Penit entiary
                                                          Hazelton, P.O. Box 2000
                                                          Bruceton Mills , Wv 26525




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